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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                        Criminal No. 13-00273 (SRN/FLN)

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )
             v.                             )                    ORDER
                                            )
LACHLAN SCOTT MCCONNELL                     )
(6);                                        )
                                            )
                    Defendants.             )


Jacqueline Blaesi-Freed, Linda I. Marks, U.S. Department of Justice, Consumer
Protection Branch, 450 5th St. NW, Ste. 6400, Washington, DC 20001, and Roger J.
Gural, U.S. Department of Justice, Civil Division, P.O. Box 386, Washington, DC 20044,
for the United States of America.

Marie Celine Pacyga and Ryan M. Pacyga, Pacyga and Associates, PA, 222 South
Seventh St., Ste. 2850, Minneapolis, MN 55402, John Marti, Dorsey & Whitney LLP, 50
South Sixth St., Ste. 1500, Minneapolis, MN 55402 for Defendant Lachlan Scott
McConnell.


SUSAN RICHARD NELSON, United States District Judge

      This matter is before the Court on Defendant Lachlan Scott McConnell’s

(“McConnell”) request to make an ex parte proffer regarding the discoverability and

usefulness of certain classified documents. (See Doc. Nos. 724, 746. 1) For the reasons

set forth below, McConnell’s request is granted.




1
 McConnell’s request was submitted via email to the Court and was not filed on
CM/ECF. The documents cited above contain the minutes for the teleconferences
wherein McConnell was instructed to submit this request via email.
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      During discovery in this matter, thirteen documents that contain classified

materials (the “Classified Documents”) were found in McConnell’s possession. These

documents cover a variety of subjects that span several decades and involve locations

around the world. They contain several Power Point presentations and a few memoranda.

Very few of the Classified Documents specifically identify McConnell as a recipient.

The Government, by way of an email to the Court dated January 18, 2017, provided the

following unclassified identifying information about the Classified Documents:

          1. AFSOC Use of FalconView.pdf – a 10-slide deck (2001)

          2. ANNEX 4 KILLING OF THE OTAZAs20151020_15250591.pdf –
             a 2-page memorandum with SECRET cover sheet dated October 20,
             2015

          3. CEXC THREAT BRIEF – a 51-slide deck

          4. entry #1089349 – an email dated December 5, 2015

          5. entry #69788385 – an email, with attachment, dated May 27, 2004

          6. IAWG.BK! – a 3-page document (1989)

          7. IAWG.J-3 – a 3-page document (1989)

          8. ModifiedEOD[66186] – a 46-slide deck

          9. REAL2 – a 3-page document

          10. SAFE HAVENS 06Mar05.doc – an 11-page document (2006)

          11. SMEB.WPF – a 2-page document

          12. SOP.dot – a 16-page document




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          13. Unclassified.doc – a 28-page document (2005) (considered
              CLASSIFIED)

      According to the Classified Information Procedures Act (“CIPA”):

      The court, upon a sufficient showing, may authorize the United States to
      delete specified items of classified information from documents to be made
      available to the defendant through discovery under the Federal Rules of
      Criminal Procedure, to substitute a summary of the information for such
      classified documents, or to substitute a statement admitting relevant facts
      that the classified information would tend to prove.

18 U.S.C. § APP. 3 § 4. The Federal Rules of Criminal Procedure similarly allow a court

to, “for good cause, deny, restrict, or defer discovery or inspection, or grant other

appropriate relief.” Fed. R. Crim. P 16(d)(1). The Government in this matter previously

requested that the Court consider the Classified Documents in camera and order that they

not be produced to McConnell.       The Court has made an in camera review of the

Documents.

      Under CIPA, the Court must ultimately make three determinations. First, it must

determine whether the Classified Documents are discoverable and privileged—that is,

that they are relevant to the charges against McConnell, but that their production risks

exposing state secrets. See United States v. Aref, 533 F.3d 72, 79 (2d Cir. 2008); United

States v. Mostafa, 992 F. Supp. 2d 335, 337 (S.D.N.Y. 2014). Second, the Court must

then determine whether the Classified Documents are “helpful or material to the defense,

i.e., useful to counter the government’s case or to bolster a defense.” Aref, 533 F.3d at

80 (quotations omitted); see Mostafa, 992 F. Supp. 2d at 337–38. Third, assuming the

Classified Documents are relevant and useful to McConnell’s defense, the Court must

“balance[e] the ‘public interest in protecting the flow of information against the

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individual’s right to prepare his defense.’” Mostafa, 992 F. Supp. 2d at 338 (quoting

Roviaro v. United States, 353 U.S. 53, 62 (1957)).

       These determinations are generally made in camera due to the risk of exposing

classified information in the process. See 18 U.S.C. § APP. 3 § 6(a) (“[T]he United

States may request the court to conduct a hearing to make all determinations concerning

the use, relevance, or admissibility of classified information that would otherwise be

made during the trial or pretrial proceeding. Upon such a request, the court shall conduct

such a hearing. Any hearing held pursuant to this subsection . . . shall be held in camera

if the Attorney General certifies to the court in such petition that a public proceeding may

result in the disclosure of classified information.”). However, parties are often allowed to

make ex parte proffer—in the form of either hearings or submissions—arguing the

discoverability, relevance, and usefulness of the classified materials. See, e.g., United

States v. Amawi, 695 F.3d 457, 472 (6th Cir. 2012); Mostafa, 992 F. Supp. 2d at 338;

United States v. Libby, 429 F. Supp. 2d 18, 21 (D.D.C.), opinion amended on

reconsideration, 429 F. Supp. 2d 46 (D.D.C. 2006); United States v. Velentzas, No. 15

CR 213 (SJ), 2016 WL 4250304, at *2 (E.D.N.Y. Aug. 10, 2016).

       McConnell requests the opportunity to make an ex parte proffer wherein he will

provide details of his defense so that the Court can make an informed decision about the

discoverability, relevance, and usefulness of the Classified Documents. The Government

has not explicitly opposed this request. The Court will follow the example of the courts

listed above and hold an ex parte hearing wherein McConnell may argue whether the

Classified Documents are discoverable, relevant, and useful.

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ORDER:

      Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT:

      1. Defendant McConnell’s request for an ex parte hearing is GRANTED as
         follows:

            a. This hearing will be held at 9:00 a.m. on Friday, January 27, 2017 in
               Courtroom 7B of the St. Paul federal courthouse;

            b. The hearing will be ex parte in that the Government will not be
               present during Defendant McConnell’s arguments; and

            c. If the Government wishes to have its own ex parte hearing on this issue,
               it must file a letter containing this request no later than January 19,
               2017.


Dated: January 18, 2017                s/ Susan Richard Nelson
                                       SUSAN RICHARD NELSON
                                       United States District Judge




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